      Case 2:18-cv-00062-RSB-BWC Document 12 Filed 09/06/18 Page 1 of 3



                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

__________________________________________
UNITED STATES OF AMERICA,                 )
                                           )
                  Plaintiff,               )
                                           )              Civil Action No. 2:18-cv-62-RSB-RSB
            v.                             )
                                           )
HERCULES LLC,                             )
                                           )
                  Defendant.               )
__________________________________________)

              NOTICE OF EXTENSION OF PUBLIC COMMENT PERIOD

       In accordance with Section 122(d)(2) of CERCLA, 42 U.S.C. § 9622(d)(2), 28 C.F.R.

§ 50.7, the public is to have at least 30 days in which to submit comments to the United States on

the proposed Consent Decree. ECF No. 3 at p.1, ECF No. 3-1 at ¶ 90. A 30-day public

comment period was commenced by the notice published in the Federal Register on May 23,

2018 at 83 Fed. Reg. 23937, with the comment period scheduled to end June 22, 2018. In

response to several requests by members of the public to extend the comment period in this

matter for an additional 60 days, the United States extended the public comment period on the

proposed Consent Decree an additional 60 days, which was scheduled to end August 21, 2018.

83 Fed. Reg. 27799 (June 14, 2018). By notice published in the Federal Register on August 16,

2018 at 83 Fed. Reg. 40788, the United States extended the period for public comment on the

Consent Decree another 30 days, to now end September 20, 2018, to allow for additional

community input and feedback. If, after reviewing the public comments, the United States

concludes that the Consent Decree should be entered, the United States will seek the entry of the

Consent Decree as an order of the Court.



                                                1
Case 2:18-cv-00062-RSB-BWC Document 12 Filed 09/06/18 Page 2 of 3




Respectfully submitted this 6th day of September 2018.


                                    /s/ Valerie K. Mann
                                    VALERIE K. MANN
                                    Trial Attorney
                                    DC Bar 440744
                                    Environmental Enforcement Section
                                    Environment and Natural Resources Division
                                    U.S. Department of Justice
                                    P.O. Box 7611
                                    Washington, DC 20044-7611
                                    Phone: (202) 616-8756
                                    E-mail: Valerie.mann@usdoj.gov



                                    COUNSEL FOR PLAINTIFF UNITED STATES
                                    OF AMERICA




                                       2
      Case 2:18-cv-00062-RSB-BWC Document 12 Filed 09/06/18 Page 3 of 3



                                  CERTIFICATE OF SERVICE

This is to certify that I have on this day served all the parties in this case in accordance with the
directives from the Court Notice of Electronic Filing (“NEF”) which was generated as a result of
electronic filing.

       Submitted this 6th day of September, 2018.

                                              /s/ Valerie K. Mann
                                              VALERIE K. MANN
                                              Trial Attorney
                                              DC Bar 440744
                                              Environmental Enforcement Section
                                              Environment and Natural Resources Division
                                              U.S. Department of Justice
                                              P.O. Box 7611
                                              Washington, DC 20044-7611
                                              Phone: (202) 616-8756
                                              E-mail: Valerie.mann@usdoj.gov




                                                  3
